         Case 3:11-cr-01448-MMA                         Document 1635                  Filed 01/30/14             PageID.6243               Page 1 of
                                                                                 4
     Oi;,AO 245B (CASD) (Rev, 12111) Judgment in a Criminal Case
                Sheet I
                                                                                                                                              ~
                                                                                                                                              =----0
                                               UNITED STATES DISTRICT COURT
                                                                                                                             14 Jml30 PfH2: 21
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINALCASE- ,                                   :... . ','
                                         v.                                          (For Offenses Committed On or After November 1, 1987)~'
                                                                                                                                                         ;'I,r~)p   ­

                          LUIS ABDUL GORDON (05),                                    Case Number: IICR1448-MMA
                                                                                     Kenneth Robert McMullan
                                                                                     Defendant's Attorney
     REGISTRATION NO. 25440298

    o
    THE DEFENDANT:
    ~ pleaded guilty to count(s} ONE OF THE SECOND SUPERSEDING INDICTMENT

     o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                              Count
     Title & Section                          Nature ofOtTense                                                                             Numberls)
I8:l962(d); 18:1963                    Conspiracy to Conduct Enterprise Affairs Through A Pattern of Racketeering                           ISS
                                       Activity; Criminal Forfeiture




        The defendant is sentenced as provided in pages 2 through     4     of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 ~ Count(s) Underlying Indictment/remaining counts                                    is   0     are~ dismissed on the motion ofthe United States.
 ~ Assessment: $100.00


 ~ Fine waived                                       0 Forfeiture pursuant to order filed                                      , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days ofany change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change i~efendant's economic circumstances.




                                                                              RON. MICHAEL M. ANELLO
                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                              llCRl448-MMA
    Case 3:11-cr-01448-MMA                        Document 1635          Filed 01/30/14       PageID.6244           Page 2 of
                                                                    4
AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
           Sheet 2   Imprisonment

                                                                                            Judgment - Page    2     of       4
 DEFENDANT: LUIS ABDUL GORDON (05),
 CASE NUMBER: llCRI44S-MMA
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a tenn of
         THIRTY-SIX (36) MONTHS



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:

    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Oa.m.    Op.m.       on _ _ _ _ _ _ _ _ _ _ __
               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before --------------------------------------------------------------
        o notified by the United States Marshal.
               as
        o as notified by the Probation or Pretrial Services Office.
                                                              RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          UN[fEDSTATES~RSHAL


                                                                    By
                                                                                      DEPUTY UNITED STATES ~SHAL




                                                                                                                   11CRI44S-MMA
        Case 3:11-cr-01448-MMA                      Document 1635                Filed 01/30/14             PageID.6245              Page 3 of
                                                                             4
AO 2458 (CASD) (Rev. 12/\\) Judgment in a Criminal Case
           Sheet 3 - Supervised Release


DEFENDANT: LUIS ABDUL GORDON (05).
CASE NUMBER: llCR1448-MMA
                                                                                                       ..      Judgment-Page ~ of _ _4.:...._ _




                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIVE (05) YEARS

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses commilled on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicab Ie.)

~       The defendant shall not possess a firearm, ammunition. destructive device, or any other dangerous weapon.

~       The defendant shall cooperate in the collection of a DNA sample from the defendant. pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall comply with die requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
D       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted ofa qualifying offense. (Check if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgm ent.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         ST ANDARD CONDITIONS OF SUPERVISION
  I)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.
                                                                                                                                       llCR1448-MMA
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                                                                4
AO 245B   (Rev. 9100) Judgment in a Criminal Case
          Sheet 4 - Special Conditions
                                                                                               Judgment-Page   '+    of ~
DEFENDANT:              LUIS ABDUL GORDON (05),                                                         a
CASE NUMBER: llCR1448-MMA

                                      SPECIAL CONDITIONS OF SUPERVISION
1. Resolve all outstanding warrants within 60 days.

2. Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and
in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure
to submit to a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject
to searches pursuant to this condition (Fourth Amendment Waiver).

3. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

4. The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et.
seq.) as directed by the probation officer, the Bureau of Prisons, or any other state sex offender registration agency in which she
resides, works or is a student or was convicted of a qualifying offense.

5. The defendant shall not associate with any known members nor shall he possess, wear, use or display or have in her possession
any item associated with gang dress or any item prohibited by the probation officer, including but not limited to any insignia,
emblem, badge, cap, hat, scarf, bandanna, or any article of clothing, hand sign or paraphernalia associated with membership or
affiliation in any gang including, but not limited to, the Insane Crips Gang (lCG).

6. Not associate with or have any contact with any known pimps and/or known prostitutes, unless in an approved treatment or
counseling setting.

7. Shall not associate with any known probationer, parolee, or gang member, including but not limited to any Insane Crip Gang
member or affiliate, Deep Valley Crip or affiliate, or Crook, Mob, Gangsters, or affiliate or anyone specifically disapproved by
the probation officer.




                                                                                              llCR1448-MMA
